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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

______________________________________________________________________________

IN RE: AQUEOUS FILM-FORMING                           MDL No. 2:18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY
LITIGATION                                            This document relates to:

                                          Civil Action No. 2:21-cv-03882-RMG
______________________________________________________________________________


                                STIPULATION OF DISMISSAL


         It is hereby Stipulated and Agreed by and between David Smith and his counsel, Skinner

Law Firm, more specifically, Stephen G. Skinner, Esquire and the Defendants herein, by and

through the Defense Leadership Counsel that the parties have agreed to dismissal without

prejudice of the instant action only as to David Smith as a party, but not as to any other party. It

is further Stipulated and Agreed that the parties shall each bear their own attorney’s fees and

costs.



Dated: August 22, 2022

/s/ Stephen G. Skinner
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                                  CERTIFICATE OF SERVICE

       I certify that I caused the foregoing STIPULATION OF DISMISSAL to be filed via the

CM/ECF system this 22nd day of August, 2022, which will automatically send e-mail

notification to all counsel of record.



                                            /s Stephen G. Skinner
                                            Stephen G. Skinner, Esq.
